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UNITED STATES COURT OF APPEALS
FOR THE SIXTH CIRCUIT
CIVIL APPEAL STATEMENT OF PARTIES AND ISSUES

Case No: -22-1010 0 Case Manager: £.Anthony Milton

Case Name: King v. Gretchen Whitmer, et al.

Is this case across appeal? []Yes [/]No

Has this case or a related one been before this court previously? []Yes [/]No
If yes, state:

Case Name: Citation:

 

Was that case mediated through the court’s program? [-]Yes [No

Please Identify the Parties Against Whom this Appeal is Being Taken and the Specific Issues You
Propose to Raise:

 

This is an appeal from the district court’s final judgment sanctioning attorneys Greg Rohl, Brandon Johnson,
Howard Kleinhendler, Sidney Powell, Julia Haller, Scott Hagerstrom, and undersigned, Stefanie Lynn Junttila.

The court awarded legal fees of $21,964.75 to defendants Gretchen Whitmer and Jocelyn Benson and
$153,285.62 to Intervenor defendant City of Detroit. The Court further ordered each attorney to complete 12

hours of Continuing Legal Education and ordered the Clerk of the Court to send a copy of its decision for
investigation to every bar in which the attorneys are admitted.

Appellant challenges the lawfulness of the sanctions, both as a matter of authority and discretion, and their
specific form in amount and kind.

The district court stayed enforcement of the monetary sanction until the instant appeal is decided.

Appellant will seek stay of all aspects of the order.

 

 

 

This is to certify that a copy of this statement was served on opposing counsel of record this _21_ day of

JANUARY | 2022 . STEFANIE LYNN JUNTTILA, in propria persona
Name of Counsel for Appellant

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Rev. 6/08

 
